                              U.S. Bankruptcy Court - District of Kansas
                                     Court Room Minute Sheet
                                             9/14/2023
                                   Hon. Dale L. Somers, Presiding
01:46 PM
__________________________________________________________________________
Case Information:
        23-20562 Brownrigg Ranches LLC Chapter: 12
Judge: DLS Filed: 05/19/2023         Pln Confirmed:
__________________________________________________________________________
Appearances:
xx      Ryan A Blay representing Brownrigg Ranches LLC (Debtor)
xx      Carl B. Davis (Trustee)
xx      Tyler Heffron representing creditors Sheryl Andersen, Lori Brinker and
       Michael R. Browrigg
__________________________________________________________________________
Issue#1
       [34] Motion to Extend Time to File Chapter 12 Plan Filed on behalf of Debtor Brownrigg
Ranches LLC, with Certificate of Service.
       [36] Objection to (related document(s): 34 Motion to Extend Time to File Chapter 12 Plan filed
by Debtor Brownrigg Ranches LLC) Filed by Trustee Carl B. Davis
__________________________________________________________________________
Notes/Decision:


Trustee states the July monthly operating report has been filed. August report will be due next week.
Court grants an extension of time to file Chapter 12 Plan. Trustee requests status conference in January
and Court orders a Status Conference to be held telephonically on January 11th @ 2:15 p.m. regarding
the filing of the plan. Text order entered.




__________________________________________________________________________




Courtroom Deputy: Mary Meyer
ECRO Reporter: Toni Brady

                    Case 23-20562       Doc# 57     Filed 09/14/23     Page 1 of 1
